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 Attorney or Party Name, Address, Telephone & FAX                             FOR COURT USE ONLY
 Nos., State Bar No. & Email Address

 BENJAMIN TAYLOR (State Bar No. 240636)
 btaylor@taylorlawfirmpc.com                                                                              FILED & ENTERED
 THE LAW OFFICES OF BENJAMIN TAYLOR
 A Professional Corporation
 1880 Century Park East, Suite 714                                                                                NOV 24 2020
 Los Angeles, California 90067
 Telephone: (310) 201-7600
 Facsimile: (310) 201-7601                                                                                  CLERK U.S. BANKRUPTCY COURT
                                                                                                            Central District of California
                                                                                                            BY carranza DEPUTY CLERK




      Debtor(s) appearing without attorney
      Attorney for: Plaintiff

                                         UNITED STATES BANKRUPTCY COURT
                                CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION

 In re:                                                                       CASE NO.: 2:19-bk-24804-VZ
                                                                              CHAPTER: 11
 YUETING JIA
                                                                              ADVERSARY NO: 2:20-ap-01022-VZ
                                        Debtor(s)
 ____________________________________________                                    STATUS CONFERENCE AND SCHEDULING
 HONG LIU, an individual,                                                         ORDER PURSUANT TO LBR 7016-1(a)(4)

                                                              Plaintiff(s)    DATE: October 29, 2020
                                    vs.                                       TIME: 10AM
                                                                              COURTROOM: 1368
                                                                              ADDRESS: Roybal Federal Building
 YUETING JIA, an individual,
                                                                                              255 E. Temple Street
                                                                                              Los Angeles, CA 90012
                                                          Defendant(s)

1.   A status conference took place on the date and time indicated above.
2.   Parties and counsel were present as reflected in the court record.
3.   This matter is disposed of as follows:
    a.        The last day for discovery to be completed, including receiving responses to discovery requests, is
(date): April 30, 2021
   d.     The last date for pre-trial motions (excluding motions to exclude evidence and motions to approve a
compromise) to be heard is (date): June 15, 2021



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    c.       The last day to obtain an order permitting the joinder other parties and the amendment of any pleadings is
(specify date): June 30, 2021
    d.        A pre-trial stipulation must be filed and served by (date) July 22, 2021 -- including a judge’s copy by
                 personal delivery or overnight mail
    e.        Notice of the pre-trial conference date is waived
    f.        Other (specify):
                    The parties shall exchange any documents as required by Federal Rule of Civil Procedure 26(a)(1) by
                    November 30, 2020.

                    By stipulation of the parties on the record, the validity and allowed amount, if any, of Plaintiff's proof of
                    claim, Proof of Claim No. 9-1, and Defendant's objections and defenses thereto, shall be adjudicated in
                    this adversary proceeding.

                                                                        ###




                 Date: November 24, 2020




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